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         EXHIBIT 1
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                                           #:838



 1    HYDEE FELDSTEIN SOTO, City Attorney (SBN 106866)
 2    DENISE C. MILLS, Chief Deputy City Attorney (SBN 191992)
      KATHLEEN KENEALY, Chief Assistant City Attorney (SBN 212289)
 3    GABRIEL S. DERMER Assistant City Attorney (SBN 229424)
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      200 North Main Street, Room 675, City Hall East
 5    Los Angeles, California 90012
 6    Telephone No.: (213) 526-7336
      Email: emerson.kim@lacity.org
 7
      Attorneys for Defendants
 8
 9                           UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11
      PEOPLE OF CITY OF LOS ANGELES                  No. 2:22-cv-08010-DOC (KESx)
12
      WHO ARE UN-HOUSED REPRESENTED
13                                                   Hon. David O. Carter
      BY D. JACOBS, individually and as
                                                     United States District Judge
14    representatives of a class,
                                  strict Judge
15                                                   Complaint filed: November 2, 2022
                        Plaintiff,
16          v.                                       DEFENDANTS’
                                                     INTERROGATORIES TO
17                                                   PLAINTIFF DAVID JACOBS (SET
      ERIC MICHAEL GARCETTI, et al.
18                                                   ONE)
                        Defendants.
19
20
21    PROPOUNDING PARTY:              DEFENDANTS
22    RESPONDING PARTY:               PLAINTIFF DAVID JACOBS
23    SET NO.:                        ONE
24
25
26
27
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                 INTERROGATORIES TO PLAINTIFF DAVID JACOBS (SET ONE)
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 1          Defendants Eric Michael Garcetti, Paul Krekorian, Robert Blumenfield, Monica
 2    Rodriguez, Marqueece Harris-Dawson, John Lee, Mitch O’Farrell, Kevin De Leon, and
 3    Monique Contreras (collectively, “Defendants”), by and through its attorneys, requests
 4    that plaintiff David Jacobs (“Plaintiff”) answer under oath, separately and fully, and
 5    within thirty (30) days, the following set of interrogatories, pursuant to Rule 33(b) of the
 6    Federal Rules of Civil Procedure.
 7                                          INSTRUCTIONS
 8          A.     Each interrogatory is to be responded to in accordance with and to the full
 9    extent of the applicable Federal Rules of Civil Procedure.
10          B.     If you object to any of the Definitions or Instructions herein, you must do so
11    by written response hereto. If a written response to a Definition or an Instruction is not
12    made prior to your answering of these interrogatories, it will be presumed that you do
13    not object to any Definition of Instruction.
14          C.     These interrogatories seek all information that is known to you, your
15    representatives, agents, employees, investigators, consultants, and unless otherwise
16    privileged, your counsel.
17          D.     All interrogatories must be answered in full and in writing in accordance
18    with Rule 33, signed by each party’s attorney, and verified by each party, unless
19    otherwise required. If any interrogatory cannot be answered fully after exercising
20    reasonable diligence, please so state and answer each such interrogatory to the fullest
21    extent you deem possible, specify the portion of each interrogatory that you claim to be
22    unable to answer fully and completely, state the facts upon which you rely to support
23    your contention that you are unable to answer the interrogatory fully and completely, and
24    state what knowledge, information, or belief you have concerning the unanswered
25    portion of each such interrogatory.
26          E.     If you believe that any of the following interrogatories call for assertion of a
27    claim of privilege, answer as much of the interrogatory as is not objected to, state that
28    part of each interrogatory to which you object, and set forth, with respect to each such
                                                  1
                 INTERROGATORIES TO PLAINTIFF DAVID JACOBS (SET ONE)
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 1    interrogatory as to which claim of privilege is asserted, the nature of the privilege (e.g.
 2    attorney-client, work product, etc.).
 3           F.     If an interrogatory is answered by citing to documents, specify the
 4    responsive document or group of documents by Bates number.
 5           G.     If any interrogatory seeks information from more than one individual or
 6    entity, the response should be broken down for each individual or related entity (e.g.
 7    affiliates, joint ventures, divisions, etc.).
 8           H.     If information requested is not readily available from your records in
 9    exactly the form requested, furnish carefully prepared estimates, designated as such, and
10    attach explanations of any estimate used.
11           I.     Technical terms shall have their normal technical meaning. If you find the
12    meaning of any terms in these interrogatories to be unclear, you must assume a
13    reasonable meaning, state what the assumed meaning is, and answer on the basis of that
14    assumed meaning. If you wish to clarify your interpretation of any particular term that is
15    relied upon in answering an interrogatory, you should do so in its answer.
16           J.     Each interrogatory shall be deemed continuing, so as to require
17    supplemental or mandatory responses should you obtain additional responsive
18    information subsequent to your initial responses.
19                                            DEFINITIONS
20           1.     As used herein, “YOU” or “YOUR” refers to the responding party, and to
21    each person who, with respect to the subject matter of the request, was or is acting on
22    responding party’s behalf, including but not limited to YOUR attorneys of record in this
23    action.
24           2.     As used herein, “COMPLAINT” refers to the Amended Complaint (ECF
25    No. 41) filed by Plaintiff in the within action.
26           3.     As used herein, the singular and masculine genders shall also mean the
27    plural and feminine or neuter, as may be appropriate; the conjunctive includes the
28    disjunctive and the disjunctive includes the conjunctive; and “ALL” includes each and
                                                   2
                  INTERROGATORIES TO PLAINTIFF DAVID JACOBS (SET ONE)
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 1    every.
 2             4.     Each term used herein which is the same as a term used in the
 3    COMPLAINT shall have the same meaning and usage as in the COMPLAINT, unless
 4    otherwise specified herein.
 5             5.     As used herein “INCIDENT” includes the circumstances and events
 6    surrounding each alleged occurrence giving rise to this action or proceeding.
 7             6.     “DOCUMENTS” means a writing, as defined in Rule 1001 of the Federal
 8    Rules of Evidence, and includes the original or a copy of handwriting, typewriting,
 9    printing, photostat, photographs, electronically stored information, and every other
10    means of recording upon any tangible thing and form of communicating or
11    representation, including letters, words, pictures, sounds, or symbols, or combinations
12    of them.
13             7.     As used herein, “IDENTIFY” when applied to a DOCUMENT shall mean
14    to provide a description of the DOCUMENT and any Bates numbers on the
15    DOCUMENT.
16             8.     As used herein, “IDENTIFY” when applied to an individual shall mean to
17    set forth the following information of the individual: (a) name; (b) business address; (c)
18    business telephone number; (d) home address; and (e) home telephone number.
19             9.     As used herein, “IDENTIFY” when applied to a business or other entity
20    shall mean to set forth the following information regarding that business or other entity:
21    (a) full name; (b) address of its principal place of business or principal place of activity;
22    (c) telephone number.
23             10.    “RELATING TO” in the plural and singular means and includes relating
24    to, related to, refer to, pertain, reflect, discuss, show, constitute, comprise, embody, or
25    by in any way logically or factually connected with the matter identified.
26    ///
27    ///
28    ///
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                     INTERROGATORIES TO PLAINTIFF DAVID JACOBS (SET ONE)
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 1                                     INTERROGATORIES
 2    INTERROGATORY NO. 1:
 3            IDENTIFY by type, amount, and category all damages YOU seek for the claims
 4    alleged in the COMPLAINT.
 5    INTERROGATORY NO. 2:
 6            State with particularity the method by which YOU quantified or calculated the
 7    damages identified in response to Interrogatory No. 1.
 8    INTERROGATORY NO. 3:
 9            State all facts supporting any damages that YOU contend YOU have suffered as a
10    result of the conduct alleged in the COMPLAINT.
11    INTERROGATORY NO. 4:
12            State all facts RELATING TO each piece of property YOU claim the CITY seized
13    for which YOU are seeking damages and the exact monetary value of each item.
14    INTERROGATORY NO. 5:
15            State all facts RELATING TO each piece of property YOU claim the CITY
16    destroyed for which YOU are seeking damages and the exact monetary value of each
17    item.
18    INTERROGATORY NO. 6:
19            State all facts RELATING TO YOUR allegations in paragraph 35 of the
20    COMPLAINT.
21    INTERROGATORY NO. 7:
22            State all facts RELATING TO YOUR allegations in paragraph 113e of the
23    COMPLAINT.
24    INTERROGATORY NO. 8:
25            State all facts RELATING TO YOUR allegations in paragraph 207 of the
26    COMPLAINT.
27    ///
28    ///
                                                  4
                   INTERROGATORIES TO PLAINTIFF DAVID JACOBS (SET ONE)
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 1    INTERROGATORY NO. 9:
 2          State all facts RELATING TO each of YOUR claims asserted in the
 3    COMPLAINT.
 4    DATED: February 18, 2025           Respectfully submitted,
 5
                                         HYDEE FELDSTEIN SOTO, City Attorney
 6                                       DENISE C. MILLS, Chief Deputy City Attorney
                                         KATHLEEN KENEALY, Chief Assistant City
 7
                                         Attorney
 8                                       GABRIEL S. DERMER, Assistant City Attorney
                                         EMERSON H. KIM, Deputy City Attorney
 9
10                                  By: /s/ Emerson H. Kim
11                                      EMERSON H. KIM, Deputy City Attorney
                                        Attorney for Defendants
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                INTERROGATORIES TO PLAINTIFF DAVID JACOBS (SET ONE)
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 1                                    PROOF OF SERVICE
                      People of the City of Los Angeles, et al. v. Garcetti, et al.
 2                               USDC 2:22-cv-08010-DOC (KESx)
 3
             I, Ava Smith, the undersigned, say: I am over the age of 18 years and not a party
 4    to the within action or proceeding. My business address is 200 North Main Street, City
 5    Hall East, #675, Los Angeles, California 90012.

 6          On February 18, 2025, I served the foregoing document described as:
 7    DEFENDANTS’ INTERROGATORIES TO PLAINTIFF DAVID JACOBS (SET
      ONE) on the interested parties in this action by placing the true copies thereof
 8    enclosed in sealed envelope(s) addressed as follows:
 9
       Stephen Yagman, Esq.
10     Yagman + Reichmann, LLP
11     333 Washington Boulevard
       Venice Beach, CA 90292-5152
12     Telephone: 310.452.3200
13
      [x] BY MAIL – I am readily familiar with the practice of the Los Angeles City
14        Attorney’s Office for collection and processing of correspondence for mailing with
15        the United States Postal Service. In the ordinary course of business,
          correspondence is deposited with the United States Postal Service the same day it is
16        placed for collection and mailing. On the date referenced above, I placed a true
17        copy of the above documents(s) in a sealed envelope and placed it for collection in
          the proper place in our office at Los Angeles, California.
18
19        I hereby certify that I am employed in the office of a member of the Bar of this
      Court at whose direction the service was made.
20
21         I declare under penalty of perjury under the laws of the State of California that the
      foregoing is true and correct.
22
23         Executed on February 18, 2025, at Los Angeles, California.
24
25
                                _________________________________
26                                             Ava Smith
27
28
                                            PROOF OF SERVICE
